                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Ellsworth Associates, LLP, United States :
Of America, Ex. Rel. Ellsworth Associates, :
LLP                                        :
                                           :        No. 19-cv-2553-JMY
       v.                                  :
                                           :
CVS Health Corporation, ET AL              :

                                           ORDER

       AND NOW, this 7th day of April, 2023, it is hereby ORDERED that the Application for

Admission Pro Hac Vice of Michael von Klemperer, Esquire, (ECF No. 55) to practice in this

Court pursuant to Local Rule of Civil Procedure 83.5.2(b) is GRANTED. 1



                                            BY THE COURT:

                                            /s/ John Milton Younge
                                            Judge John Milton Younge




1
  This Court’s Local Rules require attorneys, including those admitted pro hac vice, to complete
the registration process for the Court’s ECF system. Instructions and forms are available on the
Court website.
